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                    IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                    WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

vs.                                     NO. 4:12CR00014-011 SWW

RICHARD HAWKINS                                                                        DEFENDANT

                                                    ORDER

        The above entitled cause came on for hearing January 17, 2014 on the government’s motion to revoke

defendant’s conditions of probation previously granted in the United States District Court for the Eastern

District of Arkansas. Upon the basis of statements on the record, the Court found that the revocation hearing

should be continued.

        IT IS THEREFORE ORDERED that the hearing on the government’s motion to revoke defendant’s

probation is continued for a period of 30 days to see how defendant will comply with the conditions of

probation.

        Defendant is to continue to be under supervision and is reminded that he shall comply with and abide

by all of the conditions of his probation. If defendant violates the conditions of his probation prior to the date

of this scheduled hearing, a revocation hearing may be scheduled immediately.

        The hearing on the motion for revocation of probation in this matter hereby is continued until

THURSDAY, FEBRUARY 27, 2014 at 1:00 p.m., in Room #389, Richard Sheppard Arnold United States

Courthouse, Little Rock, Arkansas. Defendant is to report to probation one hour prior to the hearing.

        IT IS SO ORDERED this 21st day of January 2014.


                                                             /s/Susan Webber Wright
                                                             UNITED STATES DISTRICT JUDGE
